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  14                            UNITED STATES DISTRICT COURT

  15          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  16   FREED DESIGNS, INC.,                         Case No. 2:13-cv-09570-ODW-AGR
  17
                      Plaintiff,                    DEFENDANT’S MEMORANDUM OF
  18                                                POINTS AND AUTHORITIES IN
       v.                                           SUPPORT OF MOTION TO DISMISS
  19                                                FOR LACK OF SUBJECT MATTER
  20   SIG SAUER, INC.,                             JURISDICTION

  21                  Defendant.
  22   SIG SAUER, INC., a Delaware                  [Fed. R. Civ. P. 12(b)(1)]
       corporation,
  23                                                The Honorable Otis D. Wright, II
  24                  Counterclaimant,
                                                    DATE:        November 24, 2014
       v.                                           TIME:        1:30 P.M.
  25                                                CTRM.:       11
  26   FREED DESIGNS, INC.,
  27                  Counter-defendant.
  28
       Defendant’s Memo ISO Motion to Dismiss for
                                                                       CASE NO. 2:13-CV-09570-ODW-AGR
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       Defendant’s Memo ISO Motion to Dismiss for
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   1   I.     INTRODUCTION
   2          This is a patent case. Black letter patent law requires that a plaintiff own a
   3   patent before filing suit. It is uncontroverted that Plaintiff Freed Designs, Inc. did
   4   not own the Patent-in-Suit when it filed the above-captioned lawsuit on December
   5   31, 2013. Accordingly, this Court lacks subject matter jurisdiction over this case
   6   and is required to dismiss it under Fed. R. Civ. P. 12(b)(1). This is a court of limited
   7   jurisdiction that only has subject matter jurisdiction over patent cases by virtue of
   8   statute. Under the Patent Act (see 35 U.S.C. §§ 100(d) and 281), the rule has long
   9   been that a patentee must own the asserted patent when a case is filed, and an
  10   ownership deficiency cannot be corrected after filing. Whatever the stage of the
  11   litigation — even after trial — a case must be dismissed if the plaintiff did not own
  12   the patent when it filed suit. This issue cannot be waived and dismissal is not
  13   discretionary. Plaintiff did not secure ownership of the Patent-in-Suit until (no
  14   earlier than) May 15, 2014, over four months after filing suit. Accordingly, this case
  15   is void ab initio. Defendant Sig Sauer was only able to confirm that Plaintiff did not
  16   own the Patent-in-Suit at the time the case was filed following Plaintiff’s recent
  17   assignment filings and production. Defendant then tried to convince Plaintiff that
  18   the litigation must be dismissed, but Plaintiff refused to concede this undebatable
  19   legal point, requiring Defendant to bring this Rule 12(b)(1) motion.
  20   II.    BACKGROUND
  21          In its December 31, 2013 complaint, Plaintiff alleged Sig Sauer infringes
  22   U.S. Patent No. 6,928,764 (the “Patent-in-Suit”), yet failed to state explicitly
  23   whether it owned the Patent-in-Suit. However, nine times in its complaint, Plaintiff
  24   referred to the Patent-in-Suit as “the FD patent” (Plaintiff abbreviated its name,
  25   Freed Designs, as “FD” in the complaint), implying that it was the owner.
  26   Complaint (Dkt. No. 1) at 2-3. Sig Sauer asserted a “lack of standing” defense in its
  27   Answer to the Complaint. Dkt. No. 18, ¶ 18. In pursuing this defense, Sig Sauer
  28   investigated the ownership of the Patent-in-Suit by searching the United States
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   1   Patent and Trademark Office assignment database. The Patent Office certified that
   2   “no document has been found in the assignment records as of [March 21, 2014]” for
   3   the Patent-in-Suit (Exhibit 1) or either of the applications that the Patent-in-Suit
   4   claims priority to (provisional application 60/194,981 (Exhibit 2) and non-
   5   provisional application 09/827,578 (Exhibit 3)). However, because the Patent
   6   Office does not require assignors or assignees to record assignments, the lack of an
   7   assignment record is not dispositive.
   8          On May 15, 2014, Robert Freed, the sole inventor listed on the face of the
   9   Patent-in-Suit, executed an “Assignment of Invention and Patent Application”
  10   transferring to Plaintiff his “entire right, title, and interest in and to” the Patent-in-
  11   Suit. Exhibit 4. Perhaps realizing this assignment would not cure the standing issue
  12   because it did not transfer rights to Plaintiff until after the complaint filing date, Mr.
  13   Freed executed yet another assignment on September 3, 2014, titled “Assignment
  14   of Rights, Title and Interest in Invention.” Exhibit 5. This second assignment was
  15   styled as a nunc pro tunc assignment, purporting to have an “effective date” of
  16   August 16, 2005 (the issue date of the Patent-in-Suit). Id. Notably, due to Mr. Freed
  17   transferring his “entire right, title, and interest in and to” the Patent-in-Suit to
  18   Plaintiff on May 15 in the first assignment, he had nothing to transfer to Plaintiff
  19   nearly four months later on September 3 in the second nunc pro tunc assignment.
  20          In addition to not being assignee of the Patent-in-Suit at the time the
  21   complaint was filed, Plaintiff also was not a licensee with any of the rights
  22   necessary to bring this action. Plaintiff confirmed it was not a licensee when it
  23   responded to Sig Sauer’s interrogatory requesting the licensing history of the
  24   Patent-in-Suit. Specifically, Plaintiff stated that the Patent-in-Suit had no licensing
  25   history, thus admitting that Plaintiff was not a licensee of the Patent-in-Suit when it
  26   filed the complaint. Exhibit 6 at 7-8.
  27          Tellingly, four days after the parties met and conferred to discuss the lack of
  28   standing issue and the present Motion, Freed Designs served a supplemental
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   1   response to Sig Sauer’s interrogatory regarding licensing of patent-in-suit. Freed
   2   Designs now alleges that “before the date of the [nunc pro tunc] assignment to
   3   Freed Designs, Inc., … Robert Freed as inventor of ‘764 patent and sole owner and
   4   President of Plaintiff Freed Designs, Inc., licensed to Freed Designs, Inc. the right
   5   to practice the invention, and to enforce the ‘764 patent.” Exhibit 7 at 8-9. Freed
   6   Designs provides nothing to support its interrogatory response.
   7   III.   THIS CASE MUST BE DISMISSED FOR LACK OF SUBJECT
              MATTER JURISDICTION
   8
   9          This motion presents a clear-cut legal issue. The relevant facts are few and
  10   uncontroverted. The assignment history (and lack of licensing history) of the
  11   Patent-in-Suit confirm that Plaintiff did not take ownership of the Patent-in-Suit
  12   any earlier than May 15, 2014, over four months after Plaintiff filed its December
  13   31, 2013 Complaint alleging that Sig Sauer infringes the Patent-in-Suit. As set forth
  14   below, when a plaintiff files suit for patent infringement without owning the patent-
  15   in-suit, the plaintiff does not have standing, the court does not have jurisdiction, and
  16   the case must be dismissed.
  17          A.      Federal Circuit Precedent Requires Dismissal When A Plaintiff
                      Did Not Own The Patent-In-Suit On The Date It Filed Suit
  18
  19          The requirement that a “patentee” own a patent before filing suit comes from
  20   the Patent Act, which provides that “[a] patentee shall have remedy by civil action
  21   for infringement of his patent.” 35 U.S.C. § 281 (1994). The term “patentee” is
  22   defined in the Act under section 100(d) as including not only the patentee to whom
  23   the patent issued, but the successors in title to the patentee. Enzo APA & Son, Inc. v.
  24   Geapag A.G., 134 F.3d 1090, 1093 (Fed. Cir. 1998).
  25          In Abraxis Bioscience, Inc. v. Navinta LLC, 625 F.3d 1359 (Fed. Cir. 2010),
  26   the Federal Circuit summarized the ownership requirement in patent cases:
  27                  A court may exercise jurisdiction only if a plaintiff has
  28                  standing to sue on the date it files suit. Keene Corp. v.
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   1                  United States, 508 U.S. 200, 207, 113 S. Ct. 2035, 124 L.
   2                  Ed. 2d 118 (1993) (There is a “longstanding principle that
                      the ‘jurisdiction of the Court depends upon the state of
   3                  things at the time of the action brought.’”) (internal
   4                  citations omitted); Minneapolis & St. Louis R.R. v. Peoria
                      & Perkin Union Ry. Co., 270 U.S. 580, 586, 46 S. Ct.
   5                  402, 70 L. Ed. 743 (1926) (“The jurisdiction of the lower
   6                  court depends upon the state of things existing at the time
                      the suit was brought.”). Based upon this Supreme Court
   7                  jurisprudence, we have held that in a patent
   8                  infringement action, “the plaintiff must demonstrate
                      that it held enforceable title to the patent at the
   9                  inception of the lawsuit” to assert standing. Paradise
  10                  Creations, Inc. v. UV Sales, Inc., 315 F.3d 1304, 1309-
                      310 (Fed. Cir. 2003); see also 35 U.S.C. §§ 100(d), 281
  11                  (A “patentee” is entitled to bring a “civil action for
  12                  infringement of his patent,” and the patentee includes the
                      “successors in title to the patentee.”). Thus, “if the
  13                  original plaintiff lacked Article III initial standing, the
  14                  suit must be dismissed, and the jurisdictional defect
                      cannot be cured” after the inception of the lawsuit.
  15                  Schreiber Foods, Inc. v. Beatrice Cheese, Inc., 402 F.3d
  16                  1198, 1203 (Fed. Cir. 2005); Lans v. Digital Equip. Corp.,
                      252 F.3d 1320, 1328 (Fed. Cir. 2001) (affirming dismissal
  17                  of complaint and denial of motion to amend pleadings to
  18                  substitute assignee as plaintiff when plaintiff-inventor
                      assigned the patent prior to filing the action).
  19
  20          Id. at 1364 (emphasis added).
  21          Thus, under Federal Circuit precedent, “[b]ased upon … Supreme Court
  22   jurisprudence,” a patentee must own a patent when filing suit for infringement of
  23   such patent. Id.
  24          In Enzo, the Federal Circuit explained the rationale for the ownership
  25   requirement in patent cases: “As a general matter, parties should possess rights
  26   before seeking to have them vindicated in court. Allowing a subsequent assignment
  27   to automatically cure a standing defect would unjustifiably expand the number of
  28
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   1   people who are statutorily authorized to sue.” Enzo, 134 F.3d at 1093-94 (quoting
   2   Procter & Gamble Co. v. Paragon Trade Brands Inc., 917 F. Supp. 305, 310 (D.
   3   Del. 1995)); Telepresence Techs., LLC v. Upper Deck Co., 2001 U.S. Dist. LEXIS
   4   26368, *6 (C.D. Cal. 2001) (quoting Enzo for the proposition that retroactive
   5   assignments do not cure standing defects).
   6          B.      Plaintiff Did Not Have Standing At The Inception Of This
                      Lawsuit, And Any Subsequent Assignment To Plaintiff Cannot
   7                  Cure The Debilitating Standing Defect
   8          Plaintiff did not possess rights in the Patent-in-Suit before seeking to have
   9   them vindicated in court. Indeed, the Patent Office had no record of any assignment
  10   for the Patent-in-Suit as of March 21, 2014. Exhibits 1-3. Plaintiff first received
  11   rights in the Patent-in-Suit on May 15, 2014, over four months after the Complaint
  12   was filed. Exhibit 4. This post-complaint assignment cannot cure Plaintiff’s
  13   standing defect which must be examined at the time of the filing of the complaint.
  14   Abraxis, 625 F.3d at 1364.
  15          C.      Plaintiff’s Nunc Pro Tunc Assignment Does Not Cure The
                      Debilitating Standing Defect
  16
  17          Inventor Robert Freed attempted to retroactively confer rights to Plaintiff
  18   dating back to 2005 via a nunc pro tunc assignment executed on September 3,
  19   2014. As an initial matter, this second assignment has no effect because Mr. Freed
  20   already transferred his “entire right, title, and interest in and to” the Patent-in-Suit
  21   to Plaintiff on May 15 in the first assignment. Exhibit 4. Accordingly, he had
  22   nothing to transfer to Plaintiff on September 3 in the second nunc pro tunc
  23   assignment. Even if the nunc pro tunc assignment was valid, this assignment does
  24   not cure the standing defect because standing to file patent lawsuits cannot be
  25   conferred retroactively. Enzo, 134 F.3d at 1093 (“nunc pro tunc assignments are not
  26   sufficient to confer retroactive standing.”).
  27          In Enzo, declaratory judgment defendant Geapag had a series of licenses with
  28   the original assignee of the patent-in-suit prior to Enzo filing its declaratory
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   1   judgment action and Geapag filing counterclaims of patent infringement. Id. at
   2   1091-1092. Months after the declaratory judgment action and counterclaims were
   3   filed, Geapag and the original assignee “sought to clear the chain of title to the ’274
   4   patent retroactively …[and] entered into an agreement through which the [earlier
   5   licenses] were canceled and an exclusive licensing arrangement was entered into
   6   between [the original assignee] and Geapag.” Id. at 1092. By its terms, the new
   7   license was retroactive to shortly before the first filed action. Id. In addition,
   8   Geapag alleged that the new license “was a memorialization of the pre-suit oral
   9   agreement of the parties.” Id.
  10          The Federal Circuit rejected this retroactive license as a vehicle to confer
  11   standing to Geapag, finding “[i]t is clear from the record that there was no writing
  12   transferring all substantial rights under the ’274 patent to Geapag at the time it
  13   brought suit. Thus, we must then determine whether an oral exclusive license or a
  14   nunc pro tunc license executed after suit is brought, or some combination of the
  15   two, can confer standing. We conclude that under any of these circumstances the
  16   holder of title must be joined in order to confer standing.” Id. at 1093. The Federal
  17   Circuit stated the rule that “nunc pro tunc assignments are not sufficient to confer
  18   retroactive standing.” Id; Telepresence Techs, 2001 U.S. Dist. LEXIS 26368, *6
  19   (C.D. Cal. 2001) (quoting Enzo for the proposition that retroactive assignments do
  20   not cure standing defects).
  21          Accordingly, inventor Robert Freed’s nunc pro tunc assignment is not
  22   sufficient to confer standing to Plaintiff Freed Designs. Id. This will be true even if
  23   Plaintiff alleges in its response that the nunc pro tunc assignment memorialized any
  24   pre-suit agreement. Id.
  25          D.      Plaintiff’s Purported License Does Not Cure The Fatal Standing
                      Defect
  26
  27          Although Plaintiff originally told Sig Sauer in a verified interrogatory
  28   response that the Patent-in-Suit had no licensing history (Exhibit 6 at 7-8), Plaintiff
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    1   now contends—only after meeting and conferring with Sig Sauer regarding this
    2   motion and without offering any support whatsoever for its contention—that
    3   inventor Robert Freed licensed the Patent-in-Suit to Plaintiff “before the date of the
    4   assignment to Freed Designs.” Exhibit 7 at 8-9.
    5          Even if inventor Robert Freed granted a license to Plaintiff prior to the
    6   assignment, this license, without written support, is not sufficient to confer standing
    7   to Plaintiff for this lawsuit. Enzo, 134 F.3d at 1093. The Enzo court found that
    8   “[w]hile we acknowledge that a license may be written, verbal, or implied, if the
    9   license is to be considered a virtual assignment to assert standing, it must be in
   10   writing.” Id. (emphasis added). The Enzo court explicitly found that verbal licenses
   11   cannot constitute a virtual assignment because “[p]arties would be free to engage in
   12   revisionist history, circumventing the certainty provided by the writing requirement
   13   of section 261 by claiming to be patentee by virtue of a verbal licensing
   14   arrangement.” Id. Plaintiff has not produced anything in support of its claim that
   15   inventor Robert Freed granted a license to Plaintiff. Therefore, Plaintiff’s newly
   16   alleged license appears to be revisionist history that is insufficient to defeat this
   17   motion.
   18   IV. CONCLUSION
   19          Plaintiff Freed Designs did not own the Patent-in-Suit when it filed the

   20   Complaint in this lawsuit. That fact is undisputed. Plaintiff’s two assignments

   21   executed after the Complaint was filed do not cure the standing defect.

   22   Accordingly, Plaintiff did not have standing and these cases must be dismissed for

   23   lack of subject matter jurisdiction as a matter of Federal Circuit law under Fed. R.

   24   Civ. P. 12(b)(1).

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    1   Dated: October 24, 2014                        McDERMOTT WILL & EMERY LLP
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    2                                                  Eric W. Hagen
                                                       Peter M. Siavelis
    3                                                  By: /s/ Eric W. Hagen
    4                                                     Eric W. Hagen
                                                          Attorneys for Defendant and
    5                                                     Counterclaimant SIG SAUER, INC.

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    1                                  CERTIFICATE OF SERVICE
    2
    3          I certify that on October 24, 2014, I electronically filed the foregoing with

    4   the Clerk of the Court for the United States District Court, Central District of

    5   California, by using the CM/ECF system. Participants in the case who are

    6   registered CM/ECF users will be served by the CM/ECF system.

    7          Executed on October 24, 2014, at Los Angeles, California.

    8                                                        /s/ Eric W. Hagen
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